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10   Class Counsel
11
12                          UNITED STATES DISTRICT COURT
13                       CENTRAL DISTRICT OF CALIFORNIA
14
     LINDSY SAARLOOS, individually and             Case No. 5:24-cv-2058
15   on behalf of all others similarly situated,
                                                   DECLARATION OF MAX S.
16                                  Plaintiff,     ROBERTS IN SUPPORT OF
                                                   MOTION FOR ATTORNEYS'
17         v.                                      FEES, COSTS AND EXPENSES
18                                                 AND SERVICE AWARD
     THE COWBOY CHANNEL, LLC,
19                                                 Date: August 7, 2025
                                                   Time: 10:00 a.m.
20                                 Defendant.      Ctrm: 3
21                                                 Judge: Hon. Kenly Kiya Kato

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1          I, Max S. Roberts, declare as follows:
2          1.     I am an associate at Bursor & Fisher, P.A., who is Class Counsel and
3    counsel for Plaintiff Lindsy Sarloos in this action. I am an attorney at law licensed to
4    practice in the State of New York and admitted pro hac vice in this action. I have
5    personal knowledge of the facts set forth in this declaration and, if called as a
6    witness, I could and would testify competently thereto.
7          2.     I submit this declaration in support of Plaintiff’s Motion for Final
8    Approval and for an Award of Attorneys’ Fees, Costs and Expenses, and Service
9    Award.
10   I.    BACKGROUND AND OVERVIEW OF THE LITIGATION
11         A.     Litigation History
12         3.     On September 25, 2024, Plaintiff Lindsy Saarloos commenced this
13   action, alleged that Defendant violated the Video Privacy Act (“VPPA”), 18 U.S.C.
14   § 2710.
15         4.     Prior to the commencement of the action, and as set forth in the
16   Complaint, Class Counsel commissioned a dynamic analysis of Defendant’s
17   Website. See Compl. ¶ 20. The dynamic found that “when a CC+ Website user
18   creates an account and watches a pre-recorded video on the CC+ Website, Defendant
19   discloses” information to Meta, Google, and Yahoo that Plaintiff alleges identifies
20   who the user is and what pre-recorded videos they watched. Id. ¶ 27. The dynamic
21   analysis served as the factual perquisite for this action and lent plausibility to
22   Plaintiff’s allegations.
23         5.     Shortly after the commencement of this action, the Parties engaged in
24   arm’s-length negotiations, across several months, in an effort to resolve this
25   litigation. During this process the parties exchanged informal discovery, including
26   on issues such as the size and scope of the putative class. Class Counsel also
27   investigated the capabilities of the third parties at issue and the legal and factual
28   merits of Plaintiff’s claims and Defendant’s defenses. Indeed, Class Counsel has
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1    extensive experience litigating data privacy class actions, and class actions brought
2    under the VPPA in particular. Thus, Class Counsel was adequately informed of the
3    strengths and weaknesses of Plaintiff’s case during the course of the negotiations.
4          6.       On December 16, 2024, the Parties executed a term sheet setting forth
5    the principal material terms of the Settlement. Attorneys’ fees and service awards
6    were negotiated only after agreement was reached on all other material terms of the
7    settlement. Thereafter, the Parties spent substantial time working together on a long
8    form settlement and consulting with a reputable claims administrator, Simpluris, on a
9    notice plan.
10         7.       On February 3, 2025, the Parties executed the full-length Settlement
11   Agreement, which was filed publicly at ECF No. 23-1 at Ex. 1. On March 28, 2025,
12   the Court (i) preliminary approved the Class Action Settlement Agreement;
13   (ii) certified the class for the sole purpose of effectuating the Settlement Agreement;
14   (iii) appointed Lindsy Saarloos as the Class Representative; (iv) and appointed
15   Bursor & Fisher, P.A. as Class Counsel. ECF No. 30.
16         B.       Relevant Settlement Terms
17         8.       The Parties negotiated and ultimately reached the terms of the
18   Settlement through the assistance of experienced counsel who possessed all the
19   information necessary to evaluate the case, determine all the contours of the class,
20   and reach a fair and reasonable compromise after negotiating the terms of the
21   Settlement at arm’s-length.
22         9.       The Settlement Agreement creates a non-reversionary $1,000,000
23   Settlement Fund from which all Settlement Class Members are entitled to a pro rata
24   share. Settlement ¶ 2.1(a). Divided amongst approximately 155,000 Class Members,
25   the Settlement provides for a recovery of approximately $6.45 per individual Class
26   Member.
27         10.      However, Class Counsel reasonably expects that Class Members will
28   receive more than $6.45 based on the claims rate in this action. While the Claims
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1    Deadline has not yet elapsed, the average claims rate in most class actions is between
2    4-9%.1     Here, there are approximately 155,000 Class Members.            So, assuming
3    average claims rates, Class Counsel reasonably expects that Class Members who
4    submit Approved Claims will receive between $42.65 to $95.97.
5          11.    Attorneys’ fees, costs, expenses, and services awards for Plaintiff are to
6    be paid from the Settlement Fund in an amount determined by the Court. Settlement
7    ¶ 8.1. The Settlement permits Class Counsel to request up one-third of the Settlement
8    Fund in attorneys’ fees, costs, and expenses, and for Plaintiff to seek a service award
9    of up to $5,000. Id. ¶¶ 8.1, 8.3.
10         12.    Here, Class Counsel has requested $250,000 in attorneys’ fees,
11   $7,145.92 in and costs and expenses, and a service award of $5,000 for Plaintiff.
12         C.     Challenges Of Litigating Plaintiff’s Claims
13         13.    Plaintiff and Class Counsel recognize that despite their belief in the
14   strength of Plaintiff’s claims, and Plaintiff and the Class’s ability to ultimately secure
15   a favorable judgment at trial, the expense, duration, and complexity of protracted
16   litigation would be substantial and the outcome of trial uncertain.
17         14.    To the best of my knowledge, while numerous putative class actions
18   have been brought under the VPPA, few VPPA cases have made it to class
19   certification, and courts that have adjudicated these cases have largely denied class
20   certification. Compare Jancik v. WebMD LLC, 2025 WL 560705 (N.D. Ga. Feb. 20,
21   2025) (granting class certification of a VPPA claim); with Martinez v. D2C, LLC,
22   2024 WL 4367406 (S.D. Fla. Oct. 1, 2024) (denying class certification of a VPPA
23   claim); In re Hulu Privacy Litig., 2014 WL 2758598 (N.D. Cal. June 17, 2014)
24   (same); Therrien v. Hearst Television, Inc., 2025 WL 509454 (D. Mass. Feb. 14,
25   2025) (same).
26
27   1
       FTC, CONSUMERS AND CLASS ACTIONS: A RETROSPECTIVE AND ANALYSIS OF
28   SETTLEMENT CAMPAIGNS, at 11 (2019).

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1          15.    Further, no VPPA claim has made it past summary judgment. In re
2    Hulu Privacy Litig., 86 F. Supp. 3d 1090 (N.D. Cal. 2015) (granting summary
3    judgment for defendant on VPPA claim); Therrien v. Hearst Television, Inc., 2025
4    WL 1208535 (D. Mass. Apr. 25, 2025) (same).
5          16.    Moreover, earlier this month, the Second Circuit held in an issue of first
6    impression that a Facebook ID and URL string sent to Facebook were not
7    “personally identifiable information” within the meaning of the VPPA. See Solomon
8    v. Flipps Media, Inc., --- F.4th ---, 2025 WL 1256641, at *11 (2d Cir. May 1, 2025).
9    Those are among the identifiers Plaintiff alleges are at issue here. Compl. ¶¶ 27-28.
10   To be sure, most district courts, including those in California, have come to the
11   opposite conclusion. Ghanaat v. Numerade Labs, Inc., 689 F. Supp. 3d 714, 720
12   (N.D. Cal. 2023) (“Most, if not all, courts to address the question have found at the
13   pleading stage that Facebook IDs are PII.”). And the Ninth Circuit has implied it
14   agrees with that reasoning. Eichenberger v. ESPN, Inc., 876 F.3d 979, 986 (9th Cir.
15   2017) (“A Facebook link … may very well readily enable an ‘ordinary person’ to
16   identify an individual.”). Still, it is unclear whether the pendulum may begin to
17   swing in the other direction in the wake of Solomon.
18         17.    In addition, to even get the case to class certification, the Parties would
19   have to undergo significant motion practice and expensive, expansive, and
20   technologically intensive discovery. And given the complexity of the issues and the
21   amount in controversy, the defeated party would likely appeal both any decision on
22   the merits as well as on class certification. Finally, even if Plaintiff prevailed on her
23   VPPA claim at trial, there is no guarantee that Plaintiff or Class Members would be
24   awarded full or statutory damages under the VPPA.            See Montera v. Premier
25   Nutrition Corp., 111 F.4th 1018, 1043 (9th Cir. 2024) (vacating award of statutory
26   damages after class action trial).
27         18.    Looking beyond trial, Plaintiff is also keenly aware that Defendant
28   could appeal the merits of any adverse decision, and that in light of the statutory
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1    damages in play it would argue—in both the trial and appellate courts—for a
2    reduction of damages based on due process concerns.
3              19.   Defendant is also represented by highly experienced counsel who have
4    made clear that absent a settlement, they were prepared vigorously defense of this
5    case, including by moving to dismiss, moving for summary judgment, and opposing
6    class certification.
7              20.   Plaintiff and Class Counsel believe that the relief provided by the
8    settlement weighs heavily in favor of a finding that the settlement is fair, reasonable,
9    and adequate, and well within the range of approval.
10             21.   My firm undertook this representation on a wholly contingent basis
11   recognizing that the risk of non-payment has been high throughout this litigation.
12   There were substantial uncertainties in the viability of this case as a class action, as
13   well as substantial uncertainties in the merits of the underlying claims, and the ability
14   to collect on any judgment that might be obtained. Although we believed the case to
15   be meritorious, a realistic assessment shows that the risks inherent in the resolution
16   of the liability issues, protracted litigation in this action as well as the probable
17   appeals process, are great.
18             22.   Had we not resolved this matter through settlement, we would have
19   vigorously prosecuted the case through class certification, summary judgment, trial,
20   and appealed any determinations that may have been adverse to the Class’s interests.
21   We were therefore at great risk for non-payment. In addition, as described above, we
22   have advanced expenses that would not have been reimbursed absent a successful
23   result.
24   II.       BACKGROUND AND EXPERIENCE OF CLASS COUNSEL
25             23.   Bursor & Fisher, P.A., is qualified and experienced in conducting class
26   action litigation. A copy of the firm’s resume is attached hereto as Exhibit 1.
27             24.   In particular, my firm has extensive experience litigating class actions
28   under the VPPA and other data privacy statutes. Bursor & Fisher certified the first
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1    ever contested class certification in a VPPA case. Jancik v. WebMD LLC, 2025 WL
2    560705 (N.D. Ga. Feb. 20, 2025). The firm has secured victories in novel areas of
3    data privacy law at summary judgment, on appeal, and on the pleadings. See, e.g.,
4    Boelter v. Hearst Commc’ns Inc., 269 F. Supp. 3d 172 (S.D.N.Y. 2017) (granting
5    novel motion for summary judgment for the named plaintiff in case brought under
6    the Michigan analog of the VPPA); Javier v. Assurance IQ, LLC, 2022 WL 1744107
7    (9th Cir. May 31, 2022) (reversing district court and agreeing with plaintiff’s
8    interpretation of California Invasion of Privacy Act).
9          25.    As a result of these efforts, we have been appointed class counsel and
10   secured sizable relief for class members in a number of data privacy matters,
11   including those brought under the VPPA and its state analogs. See, e.g., Schreiber v.
12   Mayo Foundation, Case No. 2:22-cv-00188 (W.D. Mich.) ($52.5 million class
13   settlement to resolve claims for alleged violations of the Michigan analog of the
14   VPPA); Edwards v. Hearst Communications, Inc., Case No. 1:15-cv-09279
15   (S.D.N.Y.) ($50 million class settlement to resolve claims for alleged violations of
16   the Michigan analog of the VPPA); Jackson v. Fandango Media, LLC, Case No.
17   2023LA000631 (Ill. Cir. Ct. DuPage Cnty.) ($6 million class settlement to resolve
18   claims for alleged violations of the VPPA); Ambrose v. Boston Globe Media
19   Partners, LLC, Case No. 1:22-cv-10195 (D. Mass.) ($5 million class settlement to
20   resolve claims for alleged violations of the VPPA); Ruppel v. Consumers Union of
21   United States, Inc., Case No. 7:16-cv-02444 (S.D.N.Y.) ($16.375 million class
22   settlement to resolve claims for alleged violations of the Michigan analog of the
23   VPPA); Moeller v. Advance Magazine Publishers, Inc. d/b/a Condé Nast, Case No.
24   1:15-cv-05671 (S.D.N.Y.) ($13.75 million class settlement to resolve claims for
25   alleged violations of the Michigan analog of the VPPA); Kain v. The Economist
26   Newspaper NA, Inc., Case No. 4:21-cv-11807 (E.D. Mich. Mar. 16 2023) ($9.5
27   million class settlement to resolve claims for alleged violations of the Michigan
28   analog of the VPPA); Taylor v. Trusted Media Brands, Inc., Case No. 7:16-cv-01812
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1    (S.D.N.Y. Feb. 1, 2018) ($8.225 million class settlement to resolve claims for
2    alleged violations of the Michigan analog of the VPPA).
3           26.   Moreover, my firm has served as trial counsel for class action plaintiffs
4    in six jury trials and has won all six, with recoveries ranging from $21 million to
5    $299 million. Most recently, in May 2019, we secured a jury verdict for over $267
6    million in a Telephone Consumer Protection Act (“TCPA”) case in the Northern
7    District of California. See Perez v. Rash Curtis & Associates, 2020 WL 1904533
8    (N.D. Cal. Apr. 17, 2020). During the defendant’s appeal of the verdict, the case
9    settled for $75.6 million, the largest settlement in the history of the TCPA.
10   III.   CLASS COUNSEL’S LODESTAR AND EXPENSES
11          A.    Class Counsel’s Attorneys’ Fees And The Work Performed
                  In This Matter
12
            27.   Throughout this matter, Class Counsel has performed the following
13
     work on behalf of the Class: (i) conducting an extensive pre-suit investigation into
14
     Defendant’s data sharing practices, including commissioning a dynamic analysis of
15
     Defendant’s Website; (ii) drafting the initial Complaint; (iii) reviewing information
16
     produced by Defendant in aid of settlement discussions; (iv) negotiating the
17
     Settlement at arm’s-length with Defendant; (v) successfully moving for preliminary
18
     approval; and (vi) managing (continuing to manage) the dissemination of notice and
19
     the claims process.
20
            28.   Since the Court granted preliminary approval, Class Counsel has
21
     worked with the Settlement Administrator, Simpluris, Inc. (“Simpluris”), to carry out
22
     the Court-ordered notice plan.     Specifically, Class Counsel helped compile and
23
     review the contents of the required notice to State Attorney Generals pursuant to 28
24
     U.S.C. § 1715, reviewed the final claim and notice forms, and reviewed and tested
25
     the settlement website before it launched live.
26
            29.   Attached hereto as Exhibit 2 are Class Counsel’s detailed billing diaries
27
     for this matter, as well as a summary of the same. I have personally reviewed all of
28
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1    Class Counsel’s time entries associated with this case and have used billing
2    judgment to ensure that duplicative and unnecessary time has been excluded and that
3    only time reasonably devoted to the litigation has been included. Class Counsel’s
4    time entries were regularly and contemporaneously recorded by myself and the other
5    timekeepers pursuant to firm policy and have been maintained in the computerized
6    records of Class Counsel.
7          30.   Class Counsel undertook this matter on a contingency basis. Since
8    Class Counsel began investigating this matter through May 5, 2025, Class Counsel
9    has expended 124.1 hours in this case. Class Counsel’s lodestar in this case, based
10   on current billing rates, is $72,585.00. This represents a blended hourly rate of
11   $584.89. A fee award of $250,000 would represent a multiplier of 3.44 over the base
12   lodestar fee of $72,585.00.
13         31.   In addition to the time enumerated above, I estimate that Class Counsel
14   will incur an additional 25-50 hours of future work in connection with the
15   preparation of Plaintiff’s Motion for Final Approval, attending the Final Approval
16   Hearing, coordinating with Simpluris, monitoring settlement administration, and
17   responding to Class Member inquiries. At Class Counsel’s blended hourly rate,
18   these additional hours would push Class Counsel’s lodestar to between $87,207.25 to
19   $101,829.50 and decrease the requested multiplier to between 2.46 to 2.87.
20         32.   Included within Exhibit 2 is a chart setting forth the hourly rates
21   charged for lawyers and staff at Class Counsel at the time the work was completed.
22   Based on my knowledge and experience, the hourly rates charged by Class Counsel
23   are within the range of market rates charged by attorneys of equivalent experience,
24   skill, and expertise. I have personal knowledge of the range of hourly rates typically
25   charged by counsel in our field in New York, California, Florida, and elsewhere,
26   both on a current basis and in the past. In determining Class Counsel’s hourly rates
27   from year to year, Bursor & Fisher’s partners have consciously taken market rates
28   into account and have aligned our rates with the market.
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1           33.   Through my practice, I have become familiar with the non-contingent
2    market rates charged by attorneys in New York, California, Florida, and elsewhere
3    (Class Counsel’s offices are in New York City, Walnut Creek, California, and
4    Miami, Florida). This familiarity has been obtained in several ways: (i) by litigating
5    attorneys’ fee applications; (ii) by discussing fees with other attorneys; (iii) by
6    obtaining declarations regarding prevailing market rates filed by other attorneys
7    seeking fees; and (iv) by reviewing attorneys’ fee applications and awards in other
8    cases, as well as surveys and articles on attorney’s fees in the legal newspapers and
9    treatises.
10          34.   The information I have gathered shows that Class Counsel’s rates are in
11   line with the non-contingent market rates charged by attorneys of reasonably
12   comparable experience, skill, and reputation for reasonably comparable class action
13   work. In fact, comparable hourly rates have been found reasonable by various courts
14   for reasonably comparable services, including:
15                (i)     In re: Volkswagen “Clean Diesel” Marketing,
                          Sales Practices, and Prods. Liab. Litig., Case No.
16                        15-md-02672-CRB, ECF No. 3053 (N.D. Cal.
                          Mar. 17, 2017), approving partner rates up to
17                        $1,600, and associate rates up to $790.
18                (ii)    In re TFT-LCD (Flat Panel) Antitrust Litigation,
19                        Case No. 07-md-1827-SI, ECF No. 1827 (N.D.
                          Cal. 2013), an antitrust class action in which the
20                        court found blended hourly rates of $1000, $950,
                          $861, $825, $820, and $750 per hour reasonable
21                        for the lead class counsel.
22                (iii)   Williams v. H&R Block Enterprises, Inc., Alameda
23                        County Superior Ct. No. RG08366506, Order of
                          Final Approval and Judgment filed November 8,
24                        2012, a wage and hour class action, in which the
                          court found the hourly rates of $785, $775, and
25                        $750 reasonable for the more senior class counsel.
26                (iv)    Luquetta v. The Regents of the Univ. of California,
27                        San Francisco Superior Ct. Case No. CGC-05-
                          443007, Order Granting Plaintiff’s Motion for
28                        Common Fund Attorneys’ Fees and Expenses,
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1                        filed October 31, 2012, a class action to recover
                         tuition overcharges, in which the court found the
2                        hourly rates of $850, $785, $750, and $700
3                        reasonable for plaintiffs’ more experienced
                         counsel.
4
                  (v)    Pierce v. County of Orange, 905 F. Supp. 2d 1017
5                        (C.D. Cal. 2012), a civil rights class action brought
                         by pre-trial detainees, in which the court approved
6                        a lodestar-based, inter alia, on 2011 rates of $850
7                        and $825 per hour.

8                 (vi)   Holloway et. al. v. Best Buy Co., Inc., Case No. 05-
                         cv-5056-PJH (N.D. Cal. 2011) (Order dated
9                        November 9, 2011), a class action alleging that
                         Best Buy discriminated against female, African
10                       American and Latino employees by denying them
11                       promotions and lucrative sales positions, in which
                         the court approved lodestar-based rates of up to
12                       $825 per hour.
13                (vii) Californians for Disability Rights, Inc., et al. v.
                        California Department of Transportation, et al.,
14                      2010 U.S. Dist. LEXIS 141030 (N.D. Cal. 2010),
15                      adopted by Order Accepting Report and
                        Recommendation filed February 2, 2011, a class
16                      action in which the court found reasonable 2010
                        hourly rates of up to $835 per hour.
17
                  (viii) Qualcomm, Inc. v. Broadcom, Inc., Case No. 05-
18                       cv-1958-B, 2008 WL 2705161 (S.D. Cal. 2008), in
19                       which the court found the 2007 hourly rates
                         requested by Wilmer Cutler, Pickering, Hale &
20                       Dorr LLP reasonable; those rates ranged from $45
                         to $300 for staff and paralegals, from $275 to $505
21                       for associates and counsel, and from $435 to $850
                         for partners.
22
           35.    The reasonableness of Class Counsel’s hourly rates is also supported by
23
     several surveys of legal rates, including the following:
24
                  (i)    In an article entitled “Big Law Rates Topping
25                       $2,000 Leave Value ‘In Eye of Beholder,’” written
                         by Roy Strom and published by Bloomberg Law
26                       on June 9, 2022, the author describes how Big Law
27                       firms have crossed the $2,000-per hour rate. The
                         article also notes that law firm rates have been
28                       increasing by just under 3% per year. A true and
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1                        correct copy of this article is attached hereto as
                         Exhibit 3.
2
                 (ii)    The CounselLink Enterprise Management Trends
3                        Report for June 2022 states that the median partner
4                        rate in New York was $1,030. The report also
                         notes that median partner rates have grown by
5                        4.0% in San Francisco and 4.3% in New York. A
                         true and correct copy of this article is attached
6                        hereto as Exhibit 4.
7
                 (iii)   In an article entitled “On Sale: The $1,150-Per
8                        Hour Lawyer,” written by Jennifer Smith and
                         published in the Wall Street Journal on April 9,
9                        2013, the author describes the rapidly growing
                         number of lawyers billing at $1,150 or more
10                       revealed in public filings and major surveys. The
11                       article also notes that in the first quarter of 2013,
                         the 50 top-grossing law firms billed their partners
12                       at an average rate between $879 and $882 per
                         hour. A true and correct copy of this article is
13                       attached hereto as Exhibit 5.
14
                 (iv)    In an article published April 16, 2012, the Am Law
15                       Daily described the 2012 Real Rate Report, an
                         analysis of $7.6 billion in legal bills paid by
16                       corporations over a five-year period ending in
                         December 2011. A true and correct copy of that
17                       article is attached hereto as Exhibit 6. That article
18                       confirms that the rates charged by experienced and
                         well-qualified attorneys have continued to rise
19                       over this five-year period, particularly in large
                         urban areas like the San Francisco Bay Area. It
20                       also shows, for example that the top quartile of
21                       lawyers bill at an average of “just under $900 per
                         hour.”
22
                 (v)     Similarly, on February 25, 2011, the Wall Street
23                       Journal published an on-line article entitled “Top
                         Billers.” A true and correct copy of that article is
24                       attached hereto as Exhibit 7. That article listed the
25                       2010 and/or 2009 hourly rates for more than 125
                         attorneys, in a variety of practice areas and cases,
26                       who charged $1,000 per hour or more. Indeed, the
                         article specifically lists eleven (11) Gibson Dunn
27                       & Crutcher attorneys billing at $1,000 per hour or
28                       more.

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1
                 (vi)   On February 22, 2011, the ALM’s Daily Report
2                       listed the 2006-2009 hourly rates of numerous San
                        Francisco attorneys. A true and correct copy of
3                       that article is attached hereto as Exhibit 8. Even
4                       though rates have increased significantly since that
                        time, Class Counsel’s rates are well within the
5                       range of rates shown in this survey.
6                (vii) The Westlaw CourtExpress Legal Billing Reports
7                      for May, August, and December 2009 (attached
                       hereto as Exhibit 9) show that as far back as 2009,
8                      attorneys with as little as 19 years of experience
                       were charging $800 per hour or more, and that the
9                      rates requested here are well within the range of
                       those reported.        Again, current rates are
10                     significantly higher.
11
                 (viii) The National Law Journal’s December 2010,
12                      nationwide sampling of law firm billing rates
                        (attached hereto as Exhibit 10) lists 32 firms
13                      whose highest rate was $800 per hour or more,
14                      eleven firms whose highest rate was $900 per hour
                        or more, and three firms whose highest rate was
15                      $1,000 per hour or more.
16               (ix)   On December 16, 2009, The American Lawyer
                        published an online article entitled “Bankruptcy
17                      Rates Top $1,000 in 2008-2009.” That article is
18                      attached hereto as Exhibit 11. In addition to
                        reporting that several attorneys had charged rates
19                      of $1,000 or more in bankruptcy filings in
                        Delaware and the Southern District of New York,
20                      the article also listed 18 firms that charged median
21                      partner rates of from $625 to $980 per hour.

22               (x)    According to the National Law Journal’s 2014
                        Law Firm Billing Survey, law firms with their
23                      largest office in New York have average partner
                        and associate billing rates of $882 and $520,
24                      respectively. Karen Sloan, $1,000 Per Hour Isn’t
25                      Rare Anymore; Nominal Billing Levels Rise, But
                        Discounts Ease Blow, National Law Journal, Jan.
26                      13, 2014. The survey also shows that it is common
                        for legal fees for partners in New York firms to
27                      exceed $1,000 an hour. Id. A true and correct
28
     DECLARATION OF MAX S. ROBERTS                                                    12
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1                         copy of this survey is attached hereto as Exhibit
                          12.
2
           36.    Class Counsel’s rates have been deemed reasonable by Courts across
3
     the country, including in New York, California, Michigan, Illinois, Missouri, and
4
     New Jersey for example:
5
                  (i)     Perez v. Rash Curtis & Associates, 2020 WL
6                         1904533, at *20 (N.D. Cal. Apr. 17, 2020)
                          (concluding that “blended rate of $634.48 is within
7                         the reasonable range of rates”).
8                 (ii)    Zakskorn v. American Honda Motor Co., 2015 WL
                          3622990, at *13-15 (E.D. Cal. June 9, 2015)
9                         (approving a fee request where Bursor & Fisher
                          submitted hourly rates of up to $850 per hour for
10                        partners and $450 per hour for associates).
11                (iii)   In re Haier Freezer Consumer Litig., Case No.
                          C11-02911 EJD, N.D. Cal. (Oct. 25, 2013 Final
12                        Judgment And Order Granting Plaintiffs’ Motion
13                        For Final Approval Of Class Action Settlement
                          And For Award Of Attorneys’ Fees, Costs And
14                        Incentive Awards).
15                (iv)    Russett v. Northwestern Mutual Life Insurance
                          Co., Case No. 19-cv-07414, S.D.N.Y. (Oct. 6,
16                        2020 Final Judgment And Order Of Dismissal
                          With Prejudice).
17
                  (v)     Edwards v. Hearst Communications, Inc., Case
18                        No. 15-cv-09279, S.D.N.Y. (Apr. 24, 2019 Final
                          Judgment And Order Of Dismissal With
19                        Prejudice).
20                (vi)    Taylor v. Trusted Media Brands, Inc., Case No.
                          16-cv-01812, S.D.N.Y. (Feb. 1, 2018 Final
21                        Judgment And Order Of Dismissal With
22                        Prejudice).
           37.    No court has ever cut Class Counsel’s fee application by a single dollar
23
     on the basis that our hourly rates were not reasonable.
24
           B.     Class Counsel’s Costs And Expenses Incurred In This
25                Matter
26         38.    To date, Class Counsel has expended $7,145.92 in out-of-pocket costs
27   and expenses in connection with the prosecution of this case. Attached as Exhibit
28
     DECLARATION OF MAX S. ROBERTS                                                      13
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1    13 is an itemized list of those costs and expenses. These costs and expenses are
2    reflected in the records of Class Counsel and were necessary to prosecute this
3    litigation. Cost and expense items are billed separately, and such charges are not
4    duplicated in Class Counsel’s billing rates.
5          39.    These expenses include court fees, research fees—including the
6    dynamic analysis that is at the foundation of the allegations in this lawsuit—service
7    fees, and travel expenses related to the preliminary approval hearing (which was
8    taken under submission after the expenses were incurred).
9    IV.   PLAINTIFF’S ROLE IN THIS LITIGATION
10         40.    I am of the opinion that Ms. Saarloos’s active involvement in this case
11   was critical to its ultimate resolution.       She took her role as class representative
12   seriously, devoting significant amounts of time and effort to protecting the interests
13   of the class. Without her willingness to assume the risks and responsibilities of
14   serving as class representative, I do not believe such a strong result could have been
15   achieved.
16         41.    Ms. Saarloos equipped Class Counsel with critical details regarding her
17   experiences with Defendant. She assisted Class Counsel in investigating her claims,
18   detailed her experiences as a user of CC+ and the Website, supplied supporting
19   documentation, aided in drafting the Complaint, and frequently communicated with
20   Class Counsel regarding settlement negotiations and strategy. Ms. Saarloos was
21   prepared to testify at deposition and trial, if necessary.      And she was actively
22   consulted during the settlement process.
23         42.    In short, Ms. Saarloos assisted Class Counsel in pursuing this action on
24   behalf of the Class, and her involvement in this case has been nothing short of
25   essential to securing the Settlement.
26
27
28
     DECLARATION OF MAX S. ROBERTS                                                       14
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1          I declare under penalty of perjury that the foregoing is true and correct.
2    Executed on May 22, 2025 in New York, New York.
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                                                      Max S. Roberts
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     DECLARATION OF MAX S. ROBERTS                                                15
     CASE NO. 5:24-CV-2058-KK-SP
